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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                               LITTLE ROCK DIVISION

UNITED STATES OF AMERICA

VS.                                    4:05CR00305(21) SWW/JTR

LAURA LEIGH JONES

                                              ORDER

       On January 19, 2006, the Court entered an Order Setting Conditions of Release for

Defendant, including mental health counseling through Little Rock Community Mental Health, and

inpatient drug treatment at Chance Sobriety Ministries. (Docket entry #326.) Defendant’s Pretrial

Services Officer has submitted a Petition for Action indicating that on May 29, 2006, Defendant left

Chance Sobriety Ministries prior to successful completion of the program. However, Defendant has

since been screened for admission to Arkansas Cares and is due to be admitted to that program.

Defendant’s Pretrial Services Officer thus requests that Defendant’s conditions be modified to reflect

residential drug treatment at Arkansas Cares and continued mental health counseling at Professional

Counseling Associates. For good cause shown, the Court will grant the request.

       IT IS THEREFORE ORDERED that the Order Setting Conditions of Release (docket entry

#326) is hereby MODIFIED to reflect residential drug treatment at Arkansas Cares, and mental

health counseling at Professional Counseling Associates. All other conditions of the Order Setting

Conditions of Release (docket entry #326) shall remain in effect.

       IT IS SO ORDERED this 28th day of June, 2006.


                                               __________________________________
                                               UNITED STATES MAGISTRATE JUDGE
